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14                        IN THE UNITED STATES DISTRICT COURT
15                             FOR THE DISTRICT OF ARIZONA
16
17   United States of America,                        No. CR-18-422-PHX-SMB

18                         Plaintiff,                   UNITED STATES’ UNOPPOSED
                                                       MOTION TO EXTEND DEADLINE
19             v.                                          FOR RESPONSES, AND
                                                         DEFENDANTS’ REPLIES, TO
20                                                      DEFENDANTS’ SUBSTANTIVE
     Michael Lacey, et al.,                                     MOTIONS
21                         Defendants.
22
23         The United States files this unopposed motion for an extension to file their responses
24   to Defendants’ motions filed last Friday, October 18, 2019. On the deadline to file
25   substantive motions, Defendants filed the following:
26         -        Defendant Lacey’s Motion to Suppress (Doc. 775);
27         -        Defendants’ Motion to Compel Production of Brady Material (Doc. 777);
28         -        Defendants’ Motion to Suppress (Doc. 778);
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 1          -      Defendant Spear’s Motion for Bill of Particulars (Doc. 781);
 2          -      Defendants’ Joint Motion to Dismiss Indictment for Grand Jury Abuse Or,
 3                 in the Alternative, for Disclosure of Grand Jury Transcripts (Doc. 782);
 4          -      Defendants’ Motion to Dismiss Indictment Based On Section 230 of the
 5                 Communications Decency Act Or, Alternatively, As Void for Vagueness
 6                 (Doc. 783);
 7          -      Defendant Vaught’s Motion to Sever (Doc. 784);
 8          -      Defendant Vaught’s Motion to Strike Surplusage From the Indictment (Doc.
 9                 785); and
10          -      Defendant James Larkin’s Motion to Suppress (Doc. 786).
11          The deadline for the government to respond to these nine separate motions is
12   currently set for Friday, November 1, 2019.       LRCiv 7.2(c).     Given the volume of
13   Defendants’ motions (over 130 pages of briefing without including the attached exhibits),
14   the evidentiary hearing on October 25, 2019, work travel schedules, and other case work
15   that the government attorneys are responsible for, the government respectfully requests a
16   three-week extension to file their responses. This request would extend the deadline for
17   the government to file responses from November 1, 2019 to November 22, 2019. The
18   government has spoken with defense counsel for each of the six Defendants and there are
19   no objections.
20          Similarly, Defendants have requested an extension for their reply briefs. Replies
21   are due seven days after the responses are filed (LRCiv 7.2(d)), but because that would
22   cause Defendants to file their replies the day after Thanksgiving, they have requested, and
23   the government does not oppose, an extension until December 16, 2019.
24          Excludable delay under 18 U.S.C. § 3161(h) may occur as a result of this motion or
25   an order based thereon.
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 1          Respectfully submitted this 23rd day of October, 2019.
 2
                                               MICHAEL BAILEY
 3                                             United States Attorney
                                               District of Arizona
 4
                                               s/ Andrew C. Stone
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                                               U.S. Department of Justice, Criminal Division
14                                             Child Exploitation and Obscenity Section

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17
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19
                                 CERTIFICATE OF SERVICE
20
21          I hereby certify that on October 23, 2019, I electronically transmitted the attached
22   document to the Clerk’s Office using the CM/ECF System for filing and transmittal of a
23   Notice of Electronic Filing to the CM/ECF registrants who have entered their appearance
24   as counsel of record.
25
     s/ Angela Schuetta
26   Angela Schuetta
     U.S. Attorney’s Office
27
28


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